        Case 1:21-cv-03058-TWT Document 1 Filed 07/29/21 Page 1 of 7




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 LATASHA COWAN,

             Plaintiff,

       vs.                                  Civil Action No. _______________

 ENERGY BATTERY GROUP, INC.,

             Defendant.


                                     COMPLAINT

Plaintiff Latasha Cowan herein asserts a claim against Defendant Energy Battery

Group, Inc., for due but unpaid overtime wages, showing the Court as follows:

INTRODUCTION

1.    In this Fair Labor Standards Act action, 29 U.S.C. § 201 et seq., Plaintiff

      seeks to recover unpaid overtime wages from her former employer,

      Defendant Energy Battery Group, Inc.

2.    Prior to filing this action, Plaintiff attempted on several occasions to engage

      Defendant in a dialogue and to resolve this dispute without litigation, but

      received no substantive response from Defendant. For this reason, Plaintiff

      has no alternative but to file suit over what is a relatively small claim for

      overtime wages.

                                          -1-
       Case 1:21-cv-03058-TWT Document 1 Filed 07/29/21 Page 2 of 7




JURISDICTION AND VENUE

3.   The jurisdiction of this Court is proper pursuant to Article III, § 2 of the

     United States Constitution, 29 U.S.C. § 216(b) and 28 U.S.C. §§ 1331 and

     1337, as this case arises under the FLSA, a federal statute that affects

     interstate commerce.

4.   Energy Battery Group, Inc., is a foreign corporation existing under the laws

     of the State of Texas.

5.   Energy Battery Group, Inc., may be served with process via service on its

     registered agent for service, Joan Bingham, at 561 Thornton Road, Suite J,

     Lithia Springs, Douglas County, Georgia 30122.

6.   This Court has personal jurisdiction over Energy Battery Group, Inc.

7.   Venue properly lies in the Northern District of Georgia under 28 U.S.C.

     § 1391 because Defendant regularly conduct business in this judicial district,

     a substantial portion of the events giving rise to the claims herein arose in

     this judicial district, and Defendant resides in this judicial district.

EMPLOYMENT RELATIONSHIP

8.   Defendant Energy Battery Group owns and operates a national battery

     distribution business and sells and distributes batteries to commercial and

     individual customers across the U.S.


                                          -2-
        Case 1:21-cv-03058-TWT Document 1 Filed 07/29/21 Page 3 of 7




9.    Plaintiff Cowan worked for Defendant as an order processor from May 24,

      2016 through March 29, 2021.

10.   At all relevant times, Plaintiff was an “employee” of Energy Battery Group

      within the meaning of 29 U.S.C. § 203(e)(1).

INDIVIDUAL COVERAGE UNDER THE FLSA

11.   In each workweek throughout her employment by Energy Battery Group, in

      her role as an order processor, fulfilling customer orders across the U.S.,

      Plaintiff was an employee “engaged in commerce” within the meaning of 29

      U.S.C. § 207(a)(1).

ENTERPRISE COVERAGE UNDER THE FLSA

12.   During 2018, Energy Battery Group had two or more “employees engaged

      in commerce” as defined by 29 U.S.C. § 203(s)(1)(A).

13.   During 2018, Energy Battery Group had two or more “employees handling,

      selling or otherwise working on goods or materials that have been moved in

      or produced for commerce by any person.” as defined in 29 U.S.C.

      § 203(s)(1)(A).

14.   During 2018, Energy Battery Group had an annual gross volume of sales

      made or business done of not less than $500,000 (exclusive of excise taxes




                                         -3-
        Case 1:21-cv-03058-TWT Document 1 Filed 07/29/21 Page 4 of 7




      at the retail level that are separately stated) within the meaning of 29 U.S.C.

      § 203(s)(1)(A).

15.   During 2018, Energy Battery Group was an “enterprise engaged in

      commerce or in the production of goods for commerce” as defined in the 29

      U.S.C. § 203(s)(1).

16.   During 2019, Energy Battery Group had two or more “employees engaged

      in commerce” as defined by 29 U.S.C. § 203(s)(1)(A).

17.   During 2019, Energy Battery Group had two or more “employees handling,

      selling or otherwise working on goods or materials that have been moved in

      or produced for commerce by any person.” as defined in 29 U.S.C.

      § 203(s)(1)(A).

18.   During 2019, Energy Battery Group had an annual gross volume of sales

      made or business done of not less than $500,000 (exclusive of excise taxes

      at the retail level that are separately stated) within the meaning of 29 U.S.C.

      § 203(s)(1)(A).

19.   During 2019, Energy Battery Group was an “enterprise engaged in

      commerce or in the production of goods for commerce” as defined in the 29

      U.S.C. § 203(s)(1).




                                         -4-
        Case 1:21-cv-03058-TWT Document 1 Filed 07/29/21 Page 5 of 7




20.   During 2020, Energy Battery Group had two or more “employees engaged

      in commerce” as defined by 29 U.S.C. § 203(s)(1)(A).

21.   During 2020, Energy Battery Group had two or more “employees handling,

      selling or otherwise working on goods or materials that have been moved in

      or produced for commerce by any person.” as defined in 29 U.S.C.

      § 203(s)(1)(A).

22.   During 2020, Energy Battery Group had an annual gross volume of sales

      made or business done of not less than $500,000 (exclusive of excise taxes

      at the retail level that are separately stated) within the meaning of 29 U.S.C.

      § 203(s)(1)(A).

23.   During 2020, Energy Battery Group was an “enterprise engaged in

      commerce or in the production of goods for commerce” as defined in the 29

      U.S.C. § 203(s)(1).

GENERAL FACTUAL BACKGROUND

24.   Throughout her employment, for an approximately three-month period each

      year—typically from July through September—Plaintiff regularly worked in

      excess of 40 hours per week, but was paid no overtime wages.

25.   Throughout her employment, Plaintiff was compensated on a salary basis

      and received no premiums for hours worked in excess of 40 per week.


                                         -5-
        Case 1:21-cv-03058-TWT Document 1 Filed 07/29/21 Page 6 of 7




                              COUNT I
      FAILURE TO PAY OVERTIME WAGES PURSUANT TO 29 U.S.C. § 207

26.   At all relevant times, Plaintiff was an employee covered by the FLSA and

      entitled to the maximum hour (i.e., overtime) wage protections set forth in

      29 U.S.C. § 207.

27.   During an approximately three-month period each year, Plaintiff worked for

      Defendant far in excess of 40 hours per week.

28.   Throughout her employment, Plaintiff was compensated on a salary basis

      and received no premiums for hours worked above 40 in each workweek.

29.   Plaintiff is entitled to payment of all due but unpaid overtime wages in an

      amount to be determined at trial, in accordance with 29 U.S.C. § 216(b).

30.   As a result of the underpayment of overtime wages as alleged above,

      Plaintiff is entitled to liquidated damages in an amount equal to her unpaid

      minimum wages in accordance with 29 U.S.C. § 216(b).

31.   As a result of the underpayment of minimum wages as alleged above,

      Defendants are liable to Plaintiff for her litigation costs, including her

      reasonable attorney’s fees, in accordance with 29 U.S.C. § 216(b).

WHEREFORE, Plaintiff respectfully prays that the Court:

(a)   Take jurisdiction of this matter;

(b)   Grant a trial by jury as to all matters properly triable to a jury;
                                          -6-
        Case 1:21-cv-03058-TWT Document 1 Filed 07/29/21 Page 7 of 7




(d)   Issue a judgment declaring that Plaintiff is an employee covered by the

      FLSA, and that Defendant failed to comply with the maximum hour

      requirements of the FLSA;

(e)   Award Plaintiff all due but unpaid overtime wages and liquidated damages

      in the same amount;

(f)   Award Plaintiff prejudgment interest on all amounts owed to the extent that

      liquidated damages are not awarded;

(g)   Award Plaintiff nominal damages;

(i)   Award Plaintiff her costs of litigation including reasonable attorney’s fees

      pursuant to 29 U.S.C. § 216(b); and

(j)   Award any and such other further relief this Court deems just and proper.

This 29th day of July 2021.
                                          Respectfully submitted,

                                          DELONG, CALDWELL, BRIDGERS,
                                          FITZPATRICK & BENJAMIN, LLC

 101 Marietta Street                      s/ Matthew W. Herrington
 Suite 2650                               Charles R. Bridgers
 Atlanta, Georgia 30303                   Georgia Bar No. 080791
 (404) 979-3171                           Matthew W. Herrington
 (404) 979-3170 (f)                       Georgia Bar No. 275411
 charlesbridgers@dcbflegal.com
 matthew.herrington@dcbflegal.com         Counsel for Plaintiff




                                         -7-
